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    ESI Cases and Accessories, Inc. v. Home Depot Product Authority, LLC




                                      /s/ John H. Rains IV
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The settlement conference in this matter currently scheduled for Monday,
November 9, 2020 at 2:15 p.m. is rescheduled to Wednesday, January 6,
2021 at 10:30 a.m. Counsel is directed to call Judge Parker’s
teleconference line at the scheduled time. Please dial (866) 434-5269,
Access code: 4858267. The parties are instructed to complete the
Settlement Conference Summary Report and prepare pre-conference
submissions in accordance with Judge Parker’s Individual Rules of
Practice. Pre-conference submissions must be received by the Court no
later than December 30, 2020 by 5:00 p.m.




                                                               11/06/2020
